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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

CELLETTE CRAWFORD                                        CIVIL ACTION

VERSUS                                                   NO. 17-13397

MARLIN N. GUSMAN, ET. AL.                                SECTION "B"(4)


                                  ORDER

     Considering Plaintiff Cellette Crawford’s Consent Motion to

Declare Motion to Dismiss Moot (Rec. Doc. 31) and Defendants Marlin

Gusman and Brandon Savage’s “Motion to Dismiss” (Rec. Doc. 14),

     IT IS ORDERED that the Motion to Declare Moot (Rec. Doc. 31)

is GRANTED. The amended complaint filed by Plaintiff on January

11, 2018, renders Defendants’ Motion to Dismiss (Rec. Doc. 14)

moot. See Griffin v. Am. Zurich Ins. Co., 697 F. App'x 793, 797

(5th Cir. 2017)(“Once filed, that amended complaint rendered all

earlier motions, including Griffin's motion for partial summary

judgment, moot.”).




     New Orleans, Louisiana, this 8th day of March, 2018.



                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE
